Filed 01/24/23                                     Case 22-22056                                              Doc 78



                                       UNITED STATES BANKRUPTCY COURT
                                       EASTERN DISTRICT OF CALIFORNIA


            In re                                          )   Case No. 22-22056 - A - 7
            David R. Michal,                               )   Docket Control No. FEC-4
                                  Debtor.                  )   Document No. 1
                                                           )   Date: 01/23/2023
                                                           )   Time: 9:00 AM
                                                           )   Dept: A



                                                        Order


           IT IS ORDERED that the Status Conference is continued to March 6,
           2023, at 10:30 a.m. in Courtroom 28, Seventh Floor, 501 I Street,
           Sacramento, California.

           IT IS ORDERED that not later than 7 days prior to the continued
           hearing, Mr. Hastings and Ms. Wilson shall file a status report.


                       January 24, 2023




           Continued Status Conference Re: Involuntary Petition - [1] - Chapter 7 Involuntary Petition
           Individual. (Fee Paid $338) (eFilingID: 7126678) Re: David R. Michal Filed by Petitioning
           Creditor(s): Sarah Halevy (attorney Charles L. Hastings), David H. Walker (attorney Charles L.
           Hastings), David H. Walker, trustee of the Sarah H. Walker Trust (attorney Charles L. Hastings),
           Marjorie B. Walker (attorney Charles L. Hastings). (shes)
